Case 2 05 cr-20185-.]P|\/| Document 12 Filed 06/03/05 Page 1 of 2 Page|D 14

 

iN THE UNITED srATES DlsrRrCT CoURT F"‘ED B`r' W- m3-
FoR THE WEsNrEE§TRr;I§);IS;RDJ/$STK<))§ TENNESSEE 95 JUH __ 3 PH 2: le
agaiin :"i, r;il
UNITED sTATES oF AMERICA \$£§RS`F l;ffi. Oi§::§i:
V.

05-20] 85-Ml
CASEY SUTTON

ORDER ON ARRAIGNMENT

This cause came to be heard on JUME. l. 2005

,the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared m person and with
counsel:

NAME DMJ D‘erlwbek)

who is Retained/Appointed.

The defendant through counsel, Waived formal arraignment and entered a plea of not guilty

All motlons shall be flled Within thirty (30) days from the date hereof unless for good cause
shown to a District Judge, such period is extended

The defendant Who 1s not in custody, may stand on his present bond.

if The defendant, (not having made bond) (being a state pri soner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal

MM£&._/

UNlTED STATES MAGISTRATE JUDGE

CHARGES: 18:922(g); 21:841;

U. S. Attomey assigned to Case: E. Gilluly
Age: §§

1'111`1; document entered on the deel/a "

l ` n .1\ l !1\"}1’3‘; in enmr;lle;m§e
mm Huie ..: 3re1.ir'cr32(b) FHCJrF-’ on (;9` ? f l

 

     

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20185 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Daniel L Johnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

